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                                                 BLACKSBURG                  VA              24061
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TERRY C.BRADLEY;
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OFFICER F.M .M 1% 0
CURTIS S.SCH W AB
RAY W .GRUBBS
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TH E PA R TY S TO TH IS C O W LM N T :


DEFENDAN T N O 5


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ADDRESS                304 ROAN OKE ST.CIIRISH AN SBtIRG VA .24O68-O3:9
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 Case 7:19-cv-00320-GEC Document 2 Filed 04/19/19 Page 5 of 11 Pageid#: 7



DEFENDAN T N O 7         PATRICK R .JEN SEN
ADDRES:              1M AIN ST.SUITE 111,CH RISTIAN SBURG VA
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          Case 7:19-cv-00320-GEC Document 2 Filed 04/19/19 Page 6 of 11 Pageid#: 8

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  Case 7:19-cv-00320-GEC Document 2 Filed 04/19/19 Page 7 of 11 Pageid#: 9




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 Case 7:19-cv-00320-GEC Document 2 Filed 04/19/19 Page 9 of 11 Pageid#: 11




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